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                UNITED STATES COURT OF INTERNATIONAL TRADE


__________________________________________
BONNEY FORGE
CORPORATION,                   :           :               Court No.: 20-03837
                  Plaintiff,               :
            v.                             :               Before: Hon. Stephen A. Vaden, Judge
                                           :
UNITED STATES                              :
                                           :
                  Defendant.               :
__________________________________________:


                         MOTION TO WITHDRAW ATTORNEY

       Pursuant to Court of International Trade Rule 75(d), Plaintiff, Bonney Forge

Corporation, (hereinafter “Bonney Forge”), by its attorneys, Barnes, Richardson & Colburn LLP,

hereby moves this Court to withdraw the appearance of one attorney, Navpreet K. Moonga,

from this matter as she is no longer with the firm. Matthew T. McGrath will remain as counsel to

Bonney Forge.

       Accordingly, Bonney Forge respectfully requests this Court to allow it to remove

Navpreet K. Moonga as an attorney in this case.



                                            Respectfully submitted,

                                            /s/ Matthew T. McGrath
                                            Matthew T. McGrath
                                            BARNES, RICHARDSON & COLBURN, LLP
                                            1200 New Hampshire Ave, NW
                                            Suite 725-B
                                            Washington, DC 20036
                                            (202) 277-0215
                                            mmcgrath@barnesrichardson.com
Dated: May 20, 2021                         Counsel to Bonney Forge Corporation.
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                UNITED STATES COURT OF INTERNATIONAL TRADE


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BONNEY FORGE
CORPORATION,                   :           :                Court No.: 20-03837
                  Plaintiff,               :
            v.                             :                Before: Hon. Stephen A. Vaden, Judge
                                           :
UNITED STATES                              :
                                           :
                  Defendant.               :
__________________________________________:


                           ORDER TO WITHDRAW ATTORNEY

       Upon consideration of Plaintiff’s, Bonney Forge Corporation, Motion to Withdraw

Attorney, and upon consideration of all other papers and proceedings herein, it is hereby

       ORDERED that the said motion is granted; and it is further

       ORDERED that Navpreet K. Moonga is removed as an attorney in this case;



SO ORDERED.




Dated: ___________, 2021                            ____________________________, JUDGE
New York, New York




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